Case 21-01167-abl   Doc 57-4   Entered 03/22/22 15:27:00   Page 1 of 20




                                         EXHIBIT 4
  Case 21-01167-abl         Doc 57-4   Entered 03/22/22 15:27:00   Page 2 of 20

Anne Pantelas                                             In re: Infinity Capital Management, Inc.

                                                                                      Page 1
 ·1· · · · · · · · UNITED STATES BANKRUPTCY COURT

 ·2· · · · · · · · · · · DISTRICT OF NEVADA

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 · ·   ·In re:· · · · · · · · · · · · · · · · ·)
 ·6·   · · · · · · · · · · · · · · · · · · · · )
 · ·   · · ·INFINITY CAPITAL MANAGEMENT, INC.· )· · Case No.
 ·7·   · · · · · · · · · · · · · · · · · · · · )· 21-14486-abl
 · ·   · · · · · · · · · · · · ·Debtor.· · · · )· ·Chapter 7
 ·8·   ·_______________________________________)

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 14· · · · · · RULE 2004 EXAMINATION OF ANNE PANTELAS

 15· · · · · · · · · · · · · ·Volume I

 16· · · · · · · · · ·[via web videoconference]

 17
 · ·   ·   ·    ·   ·   ·   ·   Taken on Tuesday, November 9, 2021
 18·   ·   ·    ·   ·   ·   ·   · ·by a Certified Court Reporter
 · ·   ·   ·    ·   ·   ·   ·   · · · · · ·At 10:44 a.m.
 19·   ·   ·    ·   ·   ·   ·   · · ·Held in Las Vegas, Nevada

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 25· · · · · ·Reported by:· Ellen A. Goldstein, CCR 829



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  Case 21-01167-abl             Doc 57-4    Entered 03/22/22 15:27:00   Page 3 of 20

Anne Pantelas                                                  In re: Infinity Capital Management, Inc.

                                                                                           Page 2
 ·1· ·A P P E A R A N C E S (via web videoconference):

 ·2
 · ·   · · · ·For the Debtor INFINITY CAPITAL MANAGEMENT, INC.:
 ·3
 · ·   ·   ·    ·   ·   ·   ·    ·   ·   MATTHEW C. ZIRZOW, ESQ.
 ·4·   ·   ·    ·   ·   ·   ·    ·   ·   LARSON & ZIRZOW
 · ·   ·   ·    ·   ·   ·   ·    ·   ·   850 East Bonneville Avenue
 ·5·   ·   ·    ·   ·   ·   ·    ·   ·   Las Vegas, Nevada· 89101
 · ·   ·   ·    ·   ·   ·   ·    ·   ·   (702)382-1170
 ·6·   ·   ·    ·   ·   ·   ·    ·   ·   mzirzow@lzlawnv.com

 ·7·   · · · ·For HASELECT - MEDICAL RECEIVABLES LITIGATION
 · ·   · · · · · · · · FINANCE FUND INTERNATIONAL SP:
 ·8
 · ·   ·   ·    ·   ·   ·   ·    ·   ·   BART K. LARSEN, ESQ.
 ·9·   ·   ·    ·   ·   ·   ·    ·   ·   SHEA LARSEN
 · ·   ·   ·    ·   ·   ·   ·    ·   ·   1731 Village Center Circle
 10·   ·   ·    ·   ·   ·   ·    ·   ·   Suite 150
 · ·   ·   ·    ·   ·   ·   ·    ·   ·   Las Vegas, Nevada· 89134
 11·   ·   ·    ·   ·   ·   ·    ·   ·   (702)471-7432
 · ·   ·   ·    ·   ·   ·   ·    ·   ·   blarsen@shea.law
 12
 · ·   · · · · For TECUMSEH - INFINITY MEDICAL RECEIVABLES
 13·   · · · · · · · · FUND, LP:

 14·   ·   ·    ·   ·   ·   ·    ·   ·   MICHAEL D. NAPOLI, ESQ.
 · ·   ·   ·    ·   ·   ·   ·    ·   ·   AKERMAN, LLP
 15·   ·   ·    ·   ·   ·   ·    ·   ·   2001 Ross Avenue
 · ·   ·   ·    ·   ·   ·   ·    ·   ·   Suite 3600
 16·   ·   ·    ·   ·   ·   ·    ·   ·   Dallas, Texas· 75201
 · ·   ·   ·    ·   ·   ·   ·    ·   ·   (214)720-4300
 17·   ·   ·    ·   ·   ·   ·    ·   ·   michael.napoli@akerman.com

 18· · · · · For HEALTHPLUS IMAGING OF TEXAS, LLC:

 19·   ·   ·    ·   ·   ·   ·    ·   ·   JACOB M. STEPHENS, ESQ.
 · ·   ·   ·    ·   ·   ·   ·    ·   ·   IRELAN MC DANIEL
 20·   ·   ·    ·   ·   ·   ·    ·   ·   2520 Caroline Street
 · ·   ·   ·    ·   ·   ·   ·    ·   ·   Second floor
 21·   ·   ·    ·   ·   ·   ·    ·   ·   Houston, Texas· 77004
 · ·   ·   ·    ·   ·   ·   ·    ·   ·   (713)222-7666
 22·   ·   ·    ·   ·   ·   ·    ·   ·   jstephens@imtexaslaw.com

 23· · · · · Also present:

 24· · · · · · · · · Igor Shleypak, Mike Griffin, Debra
 · · · · · · · · · · Griffin, James Gallagher, Christopher
 25· · · · · · · · · Stewart, Oliver Hemmers



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  Case 21-01167-abl      Doc 57-4   Entered 03/22/22 15:27:00   Page 4 of 20

Anne Pantelas                                          In re: Infinity Capital Management, Inc.

                                                                                   Page 3
 ·1· · · · · · · · · · · · · ·I N D E X

 ·2

 ·3· ·WITNESS· · · · · · · · · · · · · · · · · · · · · · · PAGE

 ·4· ·ANNE PANTELAS

 ·5· · · · ·Examination by MR. LARSEN· · · · · · · · · · · · ·5

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 · · · · · · · · · · · · · E X H I B I T S
 ·9

 10· ·NUMBER· · · · ·DESCRIPTION· · · · · · · · · · · · · ·PAGE

 11·   ·Exhibit 1· · · Infinity Capital Management· · · · · · ·24
 · ·   · · · · · · · · bankruptcy schedules
 12
 · ·   ·Exhibit 2· · · Account Register Printable View· · · · ·34
 13·   · · · · · · · · for business checking account
 · ·   · · · · · · · · xxxxx6375
 14
 · ·   ·Exhibit 4· · · April 2019 email chain· · · · · · · · · 38
 15
 · ·   ·Exhibit 5· · · 7-13-21 Wire Detail Report -· · · · · · 36
 16·   · · · · · · · · Infinity Capital Management

 17· ·Exhibit 6· · · Balance Sheet of Infinity· · · · · · · ·44
 · · · · · · · · · · Capital Management as of
 18· · · · · · · · · 12-31-20

 19·   ·Exhibit 7· · · September 2021 email chain with· · · · ·66
 · ·   · · · · · · · · attachments
 20
 · ·   ·Exhibit 8· · · 12-26-19 email with attachment· · · · · 75
 21·   · · · · · · · · (CONFIDENTIAL INFINITY 002678
 · ·   · · · · · · · · ·to 002679)
 22
 · ·   ·Exhibit 10· · ·3-18-20 email with attachment· · · · · ·68
 23·   · · · · · · · · (CONFIDENTIAL INFINITY 002402
 · ·   · · · · · · · · ·to 002404)
 24

 25



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  Case 21-01167-abl      Doc 57-4   Entered 03/22/22 15:27:00   Page 5 of 20

Anne Pantelas                                          In re: Infinity Capital Management, Inc.

                                                                                   Page 4
 ·1· ·I N D E X· (continued)

 ·2· ·NUMBER· · · · ·DESCRIPTION· · · · · · · · · · · · · ·PAGE

 ·3· ·Exhibit 12· · ·Emails among Anne Pantelas,· · · · · · 104
 · · · · · · · · · · Oliver Hemmers, and Stephen
 ·4· · · · · · · · · Hodgkinson

 ·5· ·Exhibit 13· · ·8-23-19 email with attachments· · · · ·108
 · · · · · · · · · · (CONFIDENTIAL INFINITY 003491
 ·6· · · · · · · · · ·to 003503)

 ·7·   ·Exhibit 14· · ·6-30-21 letter from Bradford· · · · · · 90
 · ·   · · · · · · · · Irelan to Dan McNutt
 ·8
 · ·   ·Exhibit 15· · ·7-9-20 email with attachment· · · · · ·100
 ·9·   · · · · · · · · (CONFIDENTIAL INFINITY 000984
 · ·   · · · · · · · · ·to 000987)
 10

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  Case 21-01167-abl      Doc 57-4   Entered 03/22/22 15:27:00   Page 6 of 20

Anne Pantelas                                          In re: Infinity Capital Management, Inc.

                                                        Page 66
 ·1· ·it on the screen.· This is Exhibit 7 from the Dropbox
 ·2· ·folder, and I'll represent to you this is just one of
 ·3· ·hundreds of similar emails that were included in the
 ·4· ·out-box folder we received for your Infinity email
 ·5· ·account.· I've redacted the name of the patient and taken
 ·6· ·out some pages that were related to medical records just
 ·7· ·to avoid putting that information out there.· What I
 ·8· ·wanted you to look at, if we go to the final few pages
 ·9· ·here, we have an Assignment of Benefits/Medical Lien and
 10· ·Security Agreement.· Can you see that document?
 11· · · · A· · Yes.
 12· · · · Q· · And is this a document that Infinity would
 13· ·require be executed in connection with all of the
 14· ·accounts or treatments that it purchased?
 15· · · · A· · Yes.· There was always a letter of protection
 16· ·that needed to be executed, you know, for any date of
 17· ·accident.
 18· · · · Q· · Okay.· So this particular assignment would
 19· ·relate to -- would it relate to multiple treatments
 20· ·relating to the same patient or would a separate one be
 21· ·signed for each treatment?
 22· · · · A· · In the majority of cases, it would relate to
 23· ·multiple providers.
 24· · · · Q· · This particular one references an accident that
 25· ·occurred, it looks like, on May 22nd of 2021.· Is that


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  Case 21-01167-abl      Doc 57-4   Entered 03/22/22 15:27:00   Page 7 of 20

Anne Pantelas                                          In re: Infinity Capital Management, Inc.

                                                                                 Page 67
 ·1· ·correct?
 ·2· · · · A· · It looks like it, yes.
 ·3· · · · Q· · Was this a standard form that Infinity was
 ·4· ·using at that time to document these agreements?
 ·5· · · · A· · Yes, it was a standard-form letter of
 ·6· ·protection.
 ·7· · · · Q· · To your knowledge, is there any variation of
 ·8· ·this form that was used within the last, say, two years
 ·9· ·by Infinity to document these agreements?
 10· · · · A· · For the most part it was similar.· I don't know
 11· ·if there was slight variations, but overall.
 12· · · · Q· · Was there any version of this form that you're
 13· ·aware of that was used in the last two years by Infinity
 14· ·in which, you know, Infinity was not identified as the
 15· ·party receiving the assignment?
 16· · · · A· · No, no.
 17· · · · Q· · Who at Infinity was responsible for making sure
 18· ·that this document was signed when an account was
 19· ·purchased?
 20· · · · A· · One of the intake team that worked for
 21· ·Infinity.
 22· · · · Q· · Would the signed versions of these agreements
 23· ·all be saved within the case-management software you
 24· ·mentioned earlier?
 25· · · · A· · Yes, and physically and on the computers


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  Case 21-01167-abl      Doc 57-4   Entered 03/22/22 15:27:00   Page 8 of 20

Anne Pantelas                                          In re: Infinity Capital Management, Inc.

                                                        Page 82
 ·1· · · · A· · You're talking about the relationship with HAS?
 ·2· · · · Q· · Well, maybe that's a bad question.
 ·3· · · · · · ·So at some point in time prior to HAS entering
 ·4· ·the picture, there were other lenders that held security
 ·5· ·interests in various assets of Infinity; correct?
 ·6· · · · A· · I know a few -- I disagree that they held
 ·7· ·security interests.· However, there were funds provided
 ·8· ·by other investors for use in Infinity's operations,
 ·9· ·primarily to purchase receivables.
 10· · · · Q· · Okay.· And we've already discussed Coastal.
 11· ·Coastal was one of those lenders; is that correct?
 12· · · · A· · Yes.
 13· · · · Q· · Okay.· That was on an unsecured basis?
 14· · · · A· · Yes.
 15· · · · Q· · Are you aware of any specific loan transaction
 16· ·involving another lender that involved the filing of a
 17· ·UCC financing statement against Infinity?
 18· · · · A· · Yes.
 19· · · · Q· · And I'm speaking in addition to HASelect.
 20· · · · A· · Yes, prior to HAS.
 21· · · · Q· · Okay.· And those prior deals, was it you or
 22· ·Oliver that was primarily responsible for negotiating
 23· ·those deals on behalf of Infinity?
 24· · · · A· · The one deal that I'm referring to was LFG and
 25· ·I negotiated that.


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  Case 21-01167-abl      Doc 57-4   Entered 03/22/22 15:27:00   Page 9 of 20

Anne Pantelas                                          In re: Infinity Capital Management, Inc.

                                                        Page 83
 ·1· · · · Q· · And was that debt paid off through the proceeds
 ·2· ·that were advanced by HASelect?
 ·3· · · · A· · Yes.
 ·4· · · · Q· · Okay.· And what became of the accounts that had
 ·5· ·been purchased with the financing provided by that
 ·6· ·lender?
 ·7· · · · A· · I beg your pardon?· What was the question?
 ·8· · · · Q· · What happened to the accounts that had been
 ·9· ·financed with the funds that were advanced by that prior
 10· ·lender?
 11· · · · A· · Those accounts were transferred to HAS, and
 12· ·Infinity Capital Management lost all its equity that it
 13· ·had accumulated through that particular agreement with
 14· ·that prior UCC holder.
 15· · · · Q· · And then as collections came in on those prior
 16· ·accounts, how were they handled, to your knowledge?
 17· · · · A· · All the funds went to HAS.
 18· · · · Q· · And is that a situation where they were
 19· ·deposited in that account at Nevada Savings Bank and
 20· ·ultimately wired out to HAS?
 21· · · · A· · You mean First Savings Bank?
 22· · · · Q· · First Savings Bank, I'm sorry, yes.
 23· · · · A· · Yes.
 24· · · · Q· · Are you aware of any instance occurring within
 25· ·the last three years in which accounts receivable that


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 Case 21-01167-abl       Doc 57-4   Entered 03/22/22 15:27:00   Page 10 of 20

Anne Pantelas                                           In re: Infinity Capital Management, Inc.

                                                                                Page 116
 ·1· · · · · · · · · · REPORTER'S CERTIFICATE

 ·2

 ·3· · · · · · ·I, Ellen A. Goldstein, a duly certified court
 · · ·reporter in and for the County of Clark, State of Nevada,
 ·4· ·do hereby certify:

 ·5· · · · · · ·That I reported the taking of the Rule 2004
 · · ·Examination of ANNE PANTELAS at the time and place
 ·6· ·aforesaid;

 ·7· · · · · · ·That prior to being examined, the witness was
 · · ·by me duly sworn to testify to the truth, the whole truth
 ·8· ·and nothing but the truth;

 ·9· · · · · · ·That the witness did not request, nor was it
 · · ·requested on her behalf, to read and sign the transcript
 10· ·herewith;

 11·   · · · · · ·That I thereafter transcribed my shorthand
 · ·   ·notes into typewriting and that the typed transcript of
 12·   ·said Rule 2004 Examination is a complete, true and
 · ·   ·accurate transcription of my shorthand notes taken down
 13·   ·at the proceedings.

 14·   · · · · · ·I further certify that I am not a relative or
 · ·   ·employee of an attorney or counsel of any of the parties,
 15·   ·nor a relative or employee of any attorney or counsel
 · ·   ·involved in said action, nor a person financially
 16·   ·interested in the action.

 17· · · · · · ·IN WITNESS THEREOF, I have hereunto set my hand
 · · ·in the County of Clark, State of Nevada, this 17th day of
 18· ·November 2021.

 19

 20· · · · · · · · · · · · · · ·_______________________________
 · · · · · · · · · · · · · · · ·Ellen A. Goldstein, CCR No. 829
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     Case 21-01167-abl             Doc 57-4          Entered 03/22/22 15:27:00   Page 11 of 20


From:            Felecia Infinity Health
To:              Angela Thompson
Cc:              anne@infinitycapital.com; Maggie Infinity Health
Subject:         RE:                   - Howe and Associates
Date:            Monday, September 13, 2021 8:48:50 AM
Attachments:     image001.png
                                  - Patient Invoice Statement.pdf



Hi Angela,

I hope your day is going well. Thank you for your email. I have enclosed the
itemized statement for your client,             .

The current amount owed is $2,405.00.

Upon settlement, kindly send payment to Infinity Health Connections, located
at 1700 W. Horizon Ridge Parkway, Suite 206, Henderson, NV 89012.

Kind regards,

Felecia DiVirgilio
Intake Coordinator



Infinity Health Connections
(877) 746-3497 | Toll Free
(702) 228-3499 | Office
(702) 383-5079 | Fax

From: Angela Thompson <angela@howe.law>
Sent: Saturday, September 11, 2021 3:31 PM
To: Felecia Infinity Health <felecia@infinityhealth.com>
Subject:                  - Howe and Associates

Hi, Felecia!

Can you please provide a complete bill and set of records (5/22/2021-7/11/2021) for
                I am gathering these to draft a Demand.

Sincerely,

Angela Thompson

                                                                                               Pantelas
                                                                                               11/9/21
                                                                                         Exhibit 7
                                                                                          Oasis Reporting Services
     Case 21-01167-abl        Doc 57-4      Entered 03/22/22 15:27:00         Page 12 of 20




Georgia Case Manager
 PO Box 490
Dahlonega, GA 30533
(678) 804-2786 (Phone) | (678) 695-6908 (Fax)

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               Case 21-01167-abl                 Doc 57-4           Entered 03/22/22 15:27:00                     Page 13 of 20


                                                                                                                          STATEMENT
Infinity Health Connections
1700 W. Horizon Ridge Parkway, Suite 206                                                                    STATEMENT NO.           00018149
Henderson, NV 89012                                                                                         STATEMENT DATE          9-13-2021
PH: (702) 228-3499 | F: (702) 383-5079                                                                      PREPARED DATE           9-13-2021
www.infinityhealth.com                                                                                      CUSTOMER ID             00002077

                                                                                                            TO Miguel Rodriguez
SEE PAYMENT POLICY BELOW

                                                                                                                5755 N. Point Pkwy
MAKE ALL CHECKS PAYABLE TO Infinity Health Connections.
                                                                                                                suite 246
THANK YOU FOR YOUR BUSINESS!
                                                                                                                Alpharetta, GA 30022

                                                                                                                (404)975-2652

CLIENT                                                                                                                             DATE OF INCIDENT
                                                                                                                                          05/22/2021

PROVIDER                                                                               SERVICE FROM                 SERVICE TO                    AMOUNT
The Physicians Spine & Rehabilitation Specialists of Georgia                           06/17/2021                   07/15/2021                 $2,405.00


Interest                                                                               06/17/2021                   07/15/2021                          $0.00




3HULRGRI7UHDWPHQWV 06/17/2021                dŽ 07/15/2021                                              TOTAL AMOUNT                     $2,405.00
       Pursuant to the executed Lien, this Invoice is due and payable upon resolution of the above referenceG case. Kindly make the check payable to
                              Infinity Health Connections at 1700 W. Horizon Ridge Parkway, Suite 206, Henderson, NV 89012.
               Case 21-01167-abl                 Doc 57-4           Entered 03/22/22 15:27:00                     Page 14 of 20


                                                                                                                          STATEMENT
Infinity Health Connections
1700 W. Horizon Ridge Parkway, Suite 206                                                                    STATEMENT NO.           00018149
Henderson, NV 89012                                                                                         STATEMENT DATE          9-13-2021
PH: (702) 228-3499 | F: (702) 383-5079                                                                      PREPARED DATE           9-13-2021
www.infinityhealth.com                                                                                      CUSTOMER ID             00002077

                                                                                                            TO Miguel Rodriguez
SEE PAYMENT POLICY BELOW

                                                                                                                5755 N. Point Pkwy
MAKE ALL CHECKS PAYABLE TO Infinity Health Connections.
                                                                                                                suite 246
THANK YOU FOR YOUR BUSINESS!
                                                                                                                Alpharetta, GA 30022

                                                                                                                (404)975-2652

CLIENT                                                   WZKs/Z                                                                  DATE OF INCIDENT
                                                         The Physicians Spine & Rehabilitation Spe                                        05/22/2021

WZKhZ^                                                                                                          SERVICEd                  AMOUNT
The Physicians Spine Consult Auth #1                                                                                06/17/2021                 $1,266.00
The Physicians Spine UDS Auth #1                                                                                    06/17/2021                   $249.00
The Physicians Follow-Up Office Visit Auth 2                                                                        07/15/2021                   $890.00




3HULRGRI7UHDWPHQWV 06/17/2021                dŽ 07/15/2021                                              TOTAL AMOUNT                     $2,405.00
       Pursuant to the executed Lien, this Invoice is due and payable upon resolution of the above referenceG case. Kindly make the check payable to
                              Infinity Health Connections at 1700 W. Horizon Ridge Parkway, Suite 206, Henderson, NV 89012.
                                                                                                                                            Page 2
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                    Case 21-01167-abl               Doc  57-4        Entered 03/22/22 15:27:00                  Page 15 of 20




              Infinity Health Connections TM a division of Infinity Capital Management TM
             ASSIGNMENT OF BENEFITS/ MEDICAL LIEN AND SECURITY AGREEMENT
             1. Provider’s Lien. I,                        , (hereinafter referred to as (PATIENT), hereby grant to Infinity Capital
             Management/Infinity Health Connections, both Las Vegas, Nevada corporations (hereinafter PROVIDER) all rights
             to payment from PATIENT’S claim for personal injury which occurred on or about 05/22/2021, (hereinafter CLAIM),
             in an amount equal to gross fees for medical services funded by Infinity Health Connections, described below, which
             are provided to PATIENT or PATIENT’S minor children.

             Patient acknowledges that Infinity does not have any continuing obligation to fund any future health care costs that
             patient incurs. Patient acknowledges that when Infinity (at its discretion) agrees to finance any future patient heath
             care costs that Patient will be required to execute additional Assignments of Benefits/Medical Liens and also other
             documents such as a Limited Recovery Letter or other documents as may be needed to protect Provider.

             Patient acknowledges that each of the Providers that render services to Patient have agreed to reasonable and
             customary gross charges for the services that they provide to Patient and which are funded by Infinity.

             Patient acknowledges that fees paid to health care providers vary depending upon the method of payment, and that the
             fees paid by one patient may be higher or lower than the fees paid by another patient, depending upon contractual
             rights, government regulations, or negotiated payment arrangements between the provider and the payer. Patient
             further acknowledges that health care providers typically receive more for their services when paid by liens or security
             interests than if they were paid by other third party payers such as insurance companies, government programs such
             as Medicare or Medicaid, or by the patient in cash. Patient hereby waives any right to object to any fees charged by
             the Providers that are the subject of this lien and security interest based upon a claim that they are unreasonable or
             excessive (as opposed to erroneous), if these charges are reasonable and customary for the Providers.

             Medical services include, but are not limited to: ambulatory surgical center operating and recovery room, surgeon,
             anesthesiologist, supplies, office visits, prosthesis and related charges, chiropractors, internal medicine physicians,
             physical therapists, and diagnostic imaging (e.g. MRI, CT scan, x-ray). Medical service providers described above
             must be mutually agreed upon and approved in advance of medical services.

             PATIENT hereby acknowledges and waives the opportunity to utilize health insurance, and further requests that
             services rendered to PATIENT, from Infinity Health Connections, be placed on an attorney’s lien. PATIENT further
             acknowledges and represents one of the following: 1. PATIENT refuses to reveal his/her health insurance carrier to
             Infinity Health Connections, 2. PATIENT has no insurance coverage, or 3. PATIENT requests that the medical
             charges be applied strictly to the attorney’s lien and not to health insurance.

             PATIENT gives authority and instructs the attorney of record, MIGUEL RODRIGUEZ, ESQ. (Hereinafter
             ATTORNEY) to make payment directly and immediately to PROVIDER from the amount obtained by ATTORNEY
             in his/her settlement, award or judgement of the above-mentioned claim. PATIENT understands this notice constitutes
             a lien in favor of PROVIDER, on the proceeds of PATIENT’S claim. PATIENT further authorizes ATTORNEY to
             withhold such sums as may be necessary to adequately protect PROVIDER against any and all creditors.

             PATIENT fully understands that he/she is directly and fully responsible to PROVIDER for all medical bills submitted
             by her for services rendered. PATIENT acknowledges that this agreement is made solely for PROVIDER’S additional
             protection and consideration of her awaiting payment. PATIENT further understands that such payment is not
             contingent on any settlement, judgement or verdict, which PATIENT eventually may recover.

             PATIENT hereby instructs that in the event another ATTORNEY is substituted or associated in this matter, the new
             ATTORNEY honor this lien as inherent to the settlement and enforceable upon the case as if it were executed by
             his/her. This lien constitutes a notice to any attorney responsible for this claim. For purposes of this contract,
             ATTORNEY shall refer to the ATTORNEY NAME herein, or any attorney who is subsequently substituted or
             associated in the handling of PATIENT’S CLAIM.




                         1700 W. Horizon Ridge Parkway, Suite 206 x Henderson, NV 89012 x USA : (702) 228-3499 : (702) 383-5079
                                             Email: info@infinityhealth.com x URL: http://www.infinityhealth.com
                                                                          Page 1 of 4
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                    Case 21-01167-abl              Doc  57-4        Entered 03/22/22 15:27:00                  Page 16 of 20




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             PATIENT consents, without further notice, to PROVIDER’S filing or recording of any documents necessary to
             perfect, continue, amend or terminate its lien.
             2. Assignments. PATIENT understands that all of PROVIDER’S rights under this contract, including the lien are
             freely alienable, and PROVIDER may assign these rights in full to a third party, herein ASSIGNEE, of PROVIDER’S
             choosing. PATIENT expressly authorizes PROVIDER to furnish ASSIGNEE with all medical bills, medical records
             and other documents which are the subject of this lien; PATIENT expressly waives his/her right of privacy with regard
             to all medical information provided to ASSIGNEE.

             PATIENT understands, and ATTORNEY acknowledges, in the event of such an assignment, all of PATIENT’S and
             ATTORNEY’S duties and obligations associated with this contract, including but not limited to the duty to pay, as
             well as the duty to inform, will be enforceable by ASSIGNEE.
             3. Revocation. PATIENT herein expressly agrees not to revoke, modify, or alter this agreement and the same shall
             remain a lien, not to be discharged until such time as PROVIDER or PROVIDER’S ASSIGNEE is fully compensated
             for services rendered to PATIENT and other persons pursuant to the PATIENT/PROVIDER contract.

             4. Substitution of Attorney. PROVIDER has agreed, under the terms of this medical lien, to provide medical
             services to PATIENT upon the basis that PATIENT has retained an attorney acceptable to PROVIDER duly licensed
             to practice law in the state where jurisdiction lies, and that PROVIDER is relying on PATIENT’S continued attorney-
             client relationship with PATIENT’S chosen ATTORNEY. In the event that PATIENT, for any reason, terminates the
             attorney-client relationship with PATIENT’S chosen ATTORNEY, then:
                  A. PATIENT shall immediately notify PROVIDER; and
                  B. PATIENT agrees to retain another attorney, who will execute this agreement; and
                  C. In the event PATIENT fails to retain counsel within fourteen (14) days, chooses an ATTORNEY not acceptable
                  to PROVIDER or the ATTORNEY fails or refuses to execute this document, PATIENT shall be in default of this
                  agreement and subject to all remedies including acceleration of all debts making them immediately due and
                  payable and subject to monthly interest at the rate of one percent (1%) per month, from the date of default.
             PATIENT ACKNOWLEDGES that this agreement is made for the PROVIDER’S protection and in consideration of
             PROVIDER’S agreement to provide services on a lien basis.

             5. Restriction to Disburse. PATIENT and PATIENT’S ATTORNEY specifically agree not to disburse any funds
             from PATIENT’S settlement (including to PATIENT or ATTORNEY) until this lien has been satisfied.

             6. Attorney’s Fees/collection. Should litigation become necessary to enforce any of the rights of this agreement,
             the prevailing party of such litigation shall be entitled to all reasonable costs, including ATTORNEY’s fees.
             Furthermore, in the event of any collection activities being necessary, PATIENT agrees to pay any and all collection
             fees.

             7. Authorization. PATIENT hereby authorizes PROVIDER to obtain all medical records pertaining to PATIENT’S
             treatment, including reports on examination, diagnoses, treatment, prognoses and other medical bills and diagnostic
             reports on record. PATIENT authorizes PROVIDER to furnish ATTORNEY with all of the above-listed medical
             records. PATIENT authorizes ATTORNEY to disclose to PROVIDER all relevant legal and medical information
             associated with this CLAIM. PATIENT also authorizes and instructs ATTORNEY to provide case progress updates
             and current address, phone, and employment information concerning PATIENT to PROVIDER upon PROVIDER’S
             request.

             8. Interest. All funds advanced pursuant to this agreement shall be subject to simple interest at the rate of Ten (10
             %) per annum, interest to be calculated daily and assessed on a monthly basis, commencing from the first day of the
             13th month following the date funds are disbursed on PATIENT’S behalf and shall continue until actually paid.

             9. Modification. This Agreement may be supplemented, amended, or modified only by the mutual agreement of
             the parties. No supplement, amendment, or modification of this Agreement shall be binding unless it is in writing and
             signed by both parties.




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                                                                         Page 2 of 4
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                     Case 21-01167-abl                  Doc  57-4      Entered 03/22/22 15:27:00                 Page 17 of 20




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             10. Word Usage. Unless the context clearly requires otherwise, (a) the plural and singular numbers shall each be
             deemed to include the other; (b) the masculine, feminine, and neuter genders shall each be deemed to include the

             others; (c) “shall,” “will,” or “agrees” are mandatory, and “may” is permissive; (d) “or” is not exclusive; and (e)
             “includes” and “including” are not limited.

             11. Entire Agreement. This Agreement constitutes the final, complete, and exclusive statement of the terms of the
             agreement between the parties and supersedes all prior and contemporaneous understandings or agreements of the
             parties. No party has been induced to enter into this Agreement by, nor is any party relying on, any representation or
             warranty outside those expressly set forth in this Agreement.

             12. Severability. If a court or an arbitrator of competent jurisdiction holds any provision of this Agreement to be
             illegal, unenforceable, or invalid in whole or in part for any reason, the validity and enforceability of the remaining
             provisions, or portions of them, will not be affected, unless an essential purpose of this Agreement would be defeated
             by the loss of the illegal, unenforceable, or invalid provision.

             13. Ambiguities. Each party and its counsel have participated fully in the review and revision of this Agreement.
             Any rule of construction to the effect that ambiguities are to be resolved against the drafting party shall not apply in
             interpreting this Agreement.

             14. Counterparts. This agreement may be executed by the parties hereto in separate counterparts, each of which
             shall be deemed to be an original and all of which when taken shall constitute but one and the same agreement.

             15. Applicable Law. This agreement shall be governed by the Law of the State of Georgia.

             16. Execution. I have had an opportunity to be, and have been, represented in the above agreement by counsel of
             my own choosing. I have read the agreement, my counsel has fully explained its contents to me, and I am aware of
             its legal effect. I consent to the agreement and agree to be bound by it. PATIENT understands that this document is
             not effective, nor shall any monies be obligated or paid until the signatures of both PATIENT and ATTORNEY are
             affixed hereto.

             17. Reductions. PATIENT expressly relieves ATTORNEY of any duty to compromise this lien and herein charges
             ATTORNEY with the irrevocable duty to pay PROVIDER the sum secured herein from settlement, award, or recovery
             of PATIENT’S cl
                                                                                                                        
             PATIENT:                                                                                          Date:
                                                        [PATIENT’S SIGNATURE]



                                                         [PATIENT’S NAME]


             The undersigned being the ATTORNEY of record for the above patient does hereby agree to observe all of the terms
             of the above, and agrees to withhold such sums from any settlement, judgment or verdicts as may be necessary to
             adequately protect PROVIDER. ATTORNEY agrees that an equitable distribution will be considered in the event
             funds received from any settlement are inadequate to cover all lien holders.

             ATTORNEY:                                                                                       Date:
                                                        [ATTORNEY’S SIGNATURE]

                                              MIGUEL RODRIGUEZ, ESQ.
                                                          [ATTORNEY’S NAME]

             Subscribed and sworn to before me
             By: _________________________
             On this ____day of ___________, ________                                             Notary Public: _________________________




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                                                                           Page 3 of 4
       Case 21-01167-abl               Doc 57-4         Entered 03/22/22 15:27:00                  Page 18 of 20




 Infinity Health Connections TM a division of Infinity Capital Management TM
ASSIGNMENT OF BENEFITS/ MEDICAL LIEN AND SECURITY AGREEMENT
1. Provider’s Lien. I,                        , (hereinafter referred to as (PATIENT), hereby grant to Infinity Capital
Management/Infinity Health Connections, both Las Vegas, Nevada corporations (hereinafter PROVIDER) all rights
to payment from PATIENT’S claim for personal injury which occurred on or about 05/22/2021, (hereinafter CLAIM),
in an amount equal to gross fees for medical services funded by Infinity Health Connections, described below, which
are provided to PATIENT or PATIENT’S minor children.

Patient acknowledges that Infinity does not have any continuing obligation to fund any future health care costs that
patient incurs. Patient acknowledges that when Infinity (at its discretion) agrees to finance any future patient heath
care costs that Patient will be required to execute additional Assignments of Benefits/Medical Liens and also other
documents such as a Limited Recovery Letter or other documents as may be needed to protect Provider.

Patient acknowledges that each of the Providers that render services to Patient have agreed to reasonable and
customary gross charges for the services that they provide to Patient and which are funded by Infinity.

Patient acknowledges that fees paid to health care providers vary depending upon the method of payment, and that the
fees paid by one patient may be higher or lower than the fees paid by another patient, depending upon contractual
rights, government regulations, or negotiated payment arrangements between the provider and the payer. Patient
further acknowledges that health care providers typically receive more for their services when paid by liens or security
interests than if they were paid by other third party payers such as insurance companies, government programs such
as Medicare or Medicaid, or by the patient in cash. Patient hereby waives any right to object to any fees charged by
the Providers that are the subject of this lien and security interest based upon a claim that they are unreasonable or
excessive (as opposed to erroneous), if these charges are reasonable and customary for the Providers.

Medical services include, but are not limited to: ambulatory surgical center operating and recovery room, surgeon,
anesthesiologist, supplies, office visits, prosthesis and related charges, chiropractors, internal medicine physicians,
physical therapists, and diagnostic imaging (e.g. MRI, CT scan, x-ray). Medical service providers described above
must be mutually agreed upon and approved in advance of medical services.

PATIENT hereby acknowledges and waives the opportunity to utilize health insurance, and further requests that
services rendered to PATIENT, from Infinity Health Connections, be placed on an attorney’s lien. PATIENT further
acknowledges and represents one of the following: 1. PATIENT refuses to reveal his/her health insurance carrier to
Infinity Health Connections, 2. PATIENT has no insurance coverage, or 3. PATIENT requests that the medical
charges be applied strictly to the attorney’s lien and not to health insurance.

PATIENT gives authority and instructs the attorney of record, MIGUEL RODRIGUEZ, ESQ. (Hereinafter
ATTORNEY) to make payment directly and immediately to PROVIDER from the amount obtained by ATTORNEY
in his/her settlement, award or judgement of the above-mentioned claim. PATIENT understands this notice constitutes
a lien in favor of PROVIDER, on the proceeds of PATIENT’S claim. PATIENT further authorizes ATTORNEY to
withhold such sums as may be necessary to adequately protect PROVIDER against any and all creditors.

PATIENT fully understands that he/she is directly and fully responsible to PROVIDER for all medical bills submitted
by her for services rendered. PATIENT acknowledges that this agreement is made solely for PROVIDER’S additional
protection and consideration of her awaiting payment. PATIENT further understands that such payment is not
contingent on any settlement, judgement or verdict, which PATIENT eventually may recover.

PATIENT hereby instructs that in the event another ATTORNEY is substituted or associated in this matter, the new
ATTORNEY honor this lien as inherent to the settlement and enforceable upon the case as if it were executed by
his/her. This lien constitutes a notice to any attorney responsible for this claim. For purposes of this contract,
ATTORNEY shall refer to the ATTORNEY NAME herein, or any attorney who is subsequently substituted or
associated in the handling of PATIENT’S CLAIM.




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                                                             Page 1 of 3
       Case 21-01167-abl              Doc 57-4         Entered 03/22/22 15:27:00                  Page 19 of 20




 Infinity Health Connections TM a division of Infinity Capital Management TM
PATIENT consents, without further notice, to PROVIDER’S filing or recording of any documents necessary to
perfect, continue, amend or terminate its lien.
2. Assignments. PATIENT understands that all of PROVIDER’S rights under this contract, including the lien are
freely alienable, and PROVIDER may assign these rights in full to a third party, herein ASSIGNEE, of PROVIDER’S
choosing. PATIENT expressly authorizes PROVIDER to furnish ASSIGNEE with all medical bills, medical records
and other documents which are the subject of this lien; PATIENT expressly waives his/her right of privacy with regard
to all medical information provided to ASSIGNEE.

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well as the duty to inform, will be enforceable by ASSIGNEE.
3. Revocation. PATIENT herein expressly agrees not to revoke, modify, or alter this agreement and the same shall
remain a lien, not to be discharged until such time as PROVIDER or PROVIDER’S ASSIGNEE is fully compensated
for services rendered to PATIENT and other persons pursuant to the PATIENT/PROVIDER contract.

4. Substitution of Attorney. PROVIDER has agreed, under the terms of this medical lien, to provide medical
services to PATIENT upon the basis that PATIENT has retained an attorney acceptable to PROVIDER duly licensed
to practice law in the state where jurisdiction lies, and that PROVIDER is relying on PATIENT’S continued attorney-
client relationship with PATIENT’S chosen ATTORNEY. In the event that PATIENT, for any reason, terminates the
attorney-client relationship with PATIENT’S chosen ATTORNEY, then:
     A. PATIENT shall immediately notify PROVIDER; and
     B. PATIENT agrees to retain another attorney, who will execute this agreement; and
     C. In the event PATIENT fails to retain counsel within fourteen (14) days, chooses an ATTORNEY not acceptable
     to PROVIDER or the ATTORNEY fails or refuses to execute this document, PATIENT shall be in default of this
     agreement and subject to all remedies including acceleration of all debts making them immediately due and
     payable and subject to monthly interest at the rate of one percent (1%) per month, from the date of default.
PATIENT ACKNOWLEDGES that this agreement is made for the PROVIDER’S protection and in consideration of
PROVIDER’S agreement to provide services on a lien basis.

5. Restriction to Disburse. PATIENT and PATIENT’S ATTORNEY specifically agree not to disburse any funds
from PATIENT’S settlement (including to PATIENT or ATTORNEY) until this lien has been satisfied.

6. Attorney’s Fees/collection. Should litigation become necessary to enforce any of the rights of this agreement,
the prevailing party of such litigation shall be entitled to all reasonable costs, including ATTORNEY’s fees.
Furthermore, in the event of any collection activities being necessary, PATIENT agrees to pay any and all collection
fees.

7. Authorization. PATIENT hereby authorizes PROVIDER to obtain all medical records pertaining to PATIENT’S
treatment, including reports on examination, diagnoses, treatment, prognoses and other medical bills and diagnostic
reports on record. PATIENT authorizes PROVIDER to furnish ATTORNEY with all of the above-listed medical
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associated with this CLAIM. PATIENT also authorizes and instructs ATTORNEY to provide case progress updates
and current address, phone, and employment information concerning PATIENT to PROVIDER upon PROVIDER’S
request.

8. Interest. All funds advanced pursuant to this agreement shall be subject to simple interest at the rate of Ten (10
%) per annum, interest to be calculated daily and assessed on a monthly basis, commencing from the first day of the
13th month following the date funds are disbursed on PATIENT’S behalf and shall continue until actually paid.

9. Modification. This Agreement may be supplemented, amended, or modified only by the mutual agreement of
the parties. No supplement, amendment, or modification of this Agreement shall be binding unless it is in writing and
signed by both parties.




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                                                            Page 2 of 3
        Case 21-01167-abl                  Doc 57-4       Entered 03/22/22 15:27:00                 Page 20 of 20




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10. Word Usage. Unless the context clearly requires otherwise, (a) the plural and singular numbers shall each be
deemed to include the other; (b) the masculine, feminine, and neuter genders shall each be deemed to include the

others; (c) “shall,” “will,” or “agrees” are mandatory, and “may” is permissive; (d) “or” is not exclusive; and (e)
“includes” and “including” are not limited.

11. Entire Agreement. This Agreement constitutes the final, complete, and exclusive statement of the terms of the
agreement between the parties and supersedes all prior and contemporaneous understandings or agreements of the
parties. No party has been induced to enter into this Agreement by, nor is any party relying on, any representation or
warranty outside those expressly set forth in this Agreement.

12. Severability. If a court or an arbitrator of competent jurisdiction holds any provision of this Agreement to be
illegal, unenforceable, or invalid in whole or in part for any reason, the validity and enforceability of the remaining
provisions, or portions of them, will not be affected, unless an essential purpose of this Agreement would be defeated
by the loss of the illegal, unenforceable, or invalid provision.

13. Ambiguities. Each party and its counsel have participated fully in the review and revision of this Agreement.
Any rule of construction to the effect that ambiguities are to be resolved against the drafting party shall not apply in
interpreting this Agreement.

14. Counterparts. This agreement may be executed by the parties hereto in separate counterparts, each of which
shall be deemed to be an original and all of which when taken shall constitute but one and the same agreement.

15. Applicable Law. This agreement shall be governed by the Law of the State of Georgia.

16. Execution. I have had an opportunity to be, and have been, represented in the above agreement by counsel of
my own choosing. I have read the agreement, my counsel has fully explained its contents to me, and I am aware of
its legal effect. I consent to the agreement and agree to be bound by it. PATIENT understands that this document is
not effective, nor shall any monies be obligated or paid until the signatures of both PATIENT and ATTORNEY are
affixed hereto.

17. Reductions. PATIENT expressly relieves ATTORNEY of any duty to compromise this lien and herein charges
ATTORNEY with the irrevocable duty to pay PROVIDER the sum secured herein from settlement, award, or recovery
of PATIENT’S claims.

PATIENT:                                                                                          Date:
                                           [PATIENT’S SIGNATURE]



                                            [PATIENT’S NAME]


The undersigned being the ATTORNEY of record for the above patient does hereby agree to observe all of the terms
of the above, and agrees to withhold such sums from any settlement, judgment or verdicts as may be necessary to
adequately protect PROVIDER. ATTORNEY agrees that an equitable distribution will be considered in the event
funds received from any settlement are inadequate to cover all lien holders.

ATTORNEY:                                                                                       Date:   6/2/2021
                                           [ATTORNEY’S SIGNATURE]

                                 MIGUEL RODRIGUEZ, ESQ.
                                             [ATTORNEY’S NAME]

Subscribed and sworn to before me
By: _________________________
On this ____day of ___________, ________                                             Notary Public: _________________________




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                                                              Page 3 of 3
